Case 21-20687         Doc 153     Filed 08/17/21   Entered 08/17/21 09:42:38        Page 1 of 4




                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF CONNECTICUT
                                   HARTFORD DIVISION


  In Re:                                               Chapter 11

  THE NORWICH ROMAN CATHOLIC                           Case No. 21-20687 (JJT)
  DIOCESAN CORPORATION,

  Debtor.


                   OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
                STATEMENT OF NO OBJECTION TO THE CONTINUATION OF
                INTERIM ORDERS AND ITS FULL RESERVATION OF RIGHTS

           The Official Committee of Unsecured Creditors (the “Committee”) of The Norwich Roman

 Catholic Diocesan Corporation (the “Debtor”), in connection with this Court’s Order Granting The

 Norwich Roman Catholic Diocesan Corporation’s Consented to Motion for Continuance of the

 August 17, 2021 Hearing to September 9, 2021 [Doc. Entry No. 149] (the “Continuance Order”),

 hereby submits its statement of no objection to the continuation of the interim relief granted with

 respect to the “Hearing Motions” (as defined below) through and including September 10, 2021,

 but subject to (a) the Debtor submitting, with the Committee’s consent, a revised proposed interim

 order with respect to the Insurance Motion, and (b) the Committee’s full reservation of rights as

 articulated herein. In support thereof, the Committee respectfully represents as follows:

           1.      Pursuant to the Continuance Order, unless the Committee has “issues with the

 interim relief granted” under the following motions (the “Hearing Motions”) filed by the Debtor,

 the Hearing Motions previously scheduled to be addressed at a hearing on August 17, 2021, at

 10:00 a.m. shall be continued to a hearing on September 9, 2021 at 2:00 p.m.:

                a. Debtor’s Motion for Entry of Interim and Final Orders Authorizing Debtor to (A)
                   Pay Prepetition Wages, Salaries, and Reimbursable Expenses, and Other
                   Obligations on Account of Compensation and Benefits Programs and (B) Continue

                                                   1
Case 21-20687        Doc 153      Filed 08/17/21       Entered 08/17/21 09:42:38            Page 2 of 4




                 Compensation and Benefits Programs; and (II) Granting Related Relief [Doc.
                 Entry No. 13];

              b. Debtor’s Motion for Entry of Interim and Final Orders (I) Authorizing the
                 Continued Use of the Debtor’s Cash Management System, Bank Accounts and
                 Business Forms;and (II) Granting Related Relief [Doc. Entry No. 14];

              c. Debtor’s Motion for Entry of Interim and Final Orders (I) Authorizing and
                 Approving Special Noticing and Confidentiality Procedures; (II) Authorizing and
                 Approving Procedures for Providing Notice of Commencement; and (III)
                 Granting Related Relief [Doc. Entry No. 15];

              d. Debtor’s Motion for Entry of Interim and Final Orders Authorizing Debtor to (I)
                 Continue Insurance Coverage and Insurance Programs Entered Into Prepetition
                 and Satisfy Prepetition Obligations Related Thereto; (II) Renew, Amend,
                 Supplement, Extend, or Purchase Insurance Policies; and (III) Granting Related
                 Relief (the “Insurance Motion”) [Doc. Entry No. 18]; and

              e. Debtor’s Motion for Entry of an Order (I) Approving Proposed Form of Adequate
                 Assurance of Payment to Utility Providers; (II) Establishing Procedures for
                 Determining Adequate Assurance of Payment for Future Utility Services; (III)
                 Prohibiting Utility Providers from Altering, Refusing, or Discontinuing Utility
                 Service; and (IV) Granting Related Relief [Doc. Entry No. 19].

         2.      The Committee has now had the opportunity to review, with the benefit of its

 counsel, the Hearing Motions and the interim relief granted by this Court with respect thereto.

         3.      The Committee states that it has no objection to the continuation of the interim

 relief through and including September 10, 2021, expressly subject to the following.

         4.      First, the Debtor and the Committee have agreed that the Debtor shall submit a

 revised proposed order1 for interim relief with respect to the Insurance Motion which, at the

 Committee’s request, further limits the Debtor’s ability to act in connection with the “Insurance

 Coverage” and the “Insurance Programs” as those terms are defined in the Insurance Motion, while

 still providing, as set forth in the originally submitted proposed order, the Debtor with sufficient




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  As of the filing of this statement, the originally submitted proposed order with respect to the Insurance
 Motion had not yet entered by this Court.

                                                      2
Case 21-20687       Doc 153     Filed 08/17/21     Entered 08/17/21 09:42:38          Page 3 of 4




 relief to preserve and protect the Debtor and its bankruptcy estate in connection with its Insurance

 Coverage and Insurance Programs during this short additional interim period.

        5.      Second, the Committee’s representation that it has no objection to the continuation

 of the interim relief granted by this Court with respect to the Hearing Motions is with full

 reservation of all rights, interests and claims, and that the Committee expressly retains and in no

 way waives or relinquishes, in any regard, all of its rights, interests and claims in connection with

 any further interim or final relief sought by the Hearing Motions, any other rights, claims or

 interests in this case, or in any other matters affecting, directly or indirectly, the Committee; and

 that such representation shall not have any preclusive effect whatsoever, by admission or

 otherwise.

        6.      Accordingly, the Committee respectfully submits that, pursuant to the Continuance

 Order, the hearing to consider the Hearing Motions may be continued from the August 17th hearing

 date to the September 9th hearing date.

        Dated this 17th day of August, 2021.

                                               THE OFFICIAL COMMITTEE OF UNSECURED
                                               CREDITORS FOR THE NORWICH ROMAN
                                               CATHOLIC DIOCESAN CORPORATION



                                           By: /s/ Stephen M. Kindseth
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                                                  3
Case 21-20687       Doc 153      Filed 08/17/21     Entered 08/17/21 09:42:38          Page 4 of 4




                                  CERTIFICATE OF SERVICE

        I hereby certify that on August 17, 2021, a copy of foregoing was filed electronically.

 Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

 filing system or by mail to anyone unable to accept electronic filing as indicated on the Notice of

 Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.



                                                        /s/ Stephen M. Kindseth
                                                        Stephen M. Kindseth (ct14640)




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